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                                                                                         FILED
                               UNITED STATES DISTRICT COURT                                 JAN 3 0     2020
                                WESTERN DISTRICT OF TEXAS
                                                                                 CLERK. U,S: DISTRICT COURT
                                   SAN ANTONIO DIVISION                          WESTERN DIStRCT Q'rEXAS
                                                                                                            CLERK
JARROD STRINGER, et. al.


V.                                                         CIVIL NO. SA-16-CV-257-OG

ROLANDO PABLOS, in his official
capacity as Texas Secretary of State
and STEVEN C. McCRAW, in his official
capacity as Director of the Texas Department
of Public Safety


JARROD STRINGER, et. al.

V.



RUTH HUGHS, in her official capacity                       CIVIL NO. SA-20-CV-46-OG
as Texas Secretary of State and STEVENC.
McCRAW, in his official capacity as
Director of the Texas Department of
Public Safety

                              PRELIMINARY INJUNCTION ORDER

        OnJanuary 17,2020, Plaintiffs filed an Emergency Application for Preliminary Injunction and

Request for Hearing. Docket no. 51 On January 27, 2020, Defendants Hughs and McCraw filed a

response. Docket no. 146.2 On January 28, 2020, Plaintiff-Intervenors filed a motion to join in the

motion for preliminary injunction, and their motion to join was granted. Docket no.150. The same day,

Plaintiffs filed their reply and supplemented their evidence. Docket no. 154. The Court held a hearing

on January 28, 2020. Both sides had the opportunity to present live witnesses but declined. Plaintiffs,

Plaintiff-Intervenors, and Defendants all presented oral argument on the applicable law and the current

facts set forth in the evidence attached to their motion, response, and reply. The facts are uncontested

and neither side challenges the admissibility of the preliminary injunction evidence. After considering


        1Docketed in 20-CV-46.

       2Docketed in 1 6-CV-257. Unless stated otherwise, all docket references are to the docket in 1 6-CV-257.
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the parties' arguments and reviewing the facts and applicable law, the Court finds that the Emergency

Application for Preliminary Injunction should be GRANTED in part, and the rest of the relief sought

therein will be held in abeyance.

                                                       I.

                                       Standard and process of review

       To obtain a preliminary injunction, movants must establish each of the following four factors:

        (1) a substantial likelihood   of success on the merits;

        (2) a   substantial threat of irreparable injury if the injunction is not issued;

        (3)   the threatened injury if the injunction is denied outweighs any harm that will result if the

       injunction is granted; and

        (4)   granting an injunction will not disserve the public interest.

Texas v. United States, 809 F.3d 134, 150 (5th Cir. 2015). In many cases, a preliminary injunction serves

to preserve the relative positions of the parties until a trial on the merits can be held. Univ. of Texas v.

Camenisch, 451 U.S. 390, 395 (1981). Preliminary injunctions          that would change, rather than maintain,

the status quo are generally disfavored and should not issue unless the facts and law clearly favor the

moving party. Martine< v. Mathews, 544 F.2d 1233, 1243 (5th Cir. 1976). On the other hand, "[a]

fundamental principle of preliminary injunctions       [is   that] [a]n injunction is of no help if one must wait

to suffer injury before the court grants it." Texas    v.    U.S., 809 F.3d at 173 n. 137 (citing United States v.

Emerson, 270 F.3d 203, 262 (5th Cir. 2001)).      In this case, maintaining the status quo would mean the

individual plaintiffs would remain unregistered and ineligible to vote in the county and precinct where

they reside. The Court need not wait for the individual plaintiffs to suffer disenfranchisement before

considering preliminary injunctive relief. Id. Given the limited purpose of a preliminary injunction, and

given the haste that is often necessary in considering the relief being sought, "a preliminary injunction

is customarily granted on the basis of procedures that are less formal and evidence that is less complete


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than in a trial on the merits." Camenisob, 451 U.S. at 3953 Ultimately, the decision to grant preliminary

injunctive relief rests in the sound discretion of the district court, and is "often dependent as much on

the equities of [the] case as the substance of the legal issues it presents." Trump     v.   Int'l Refugee Assistance

Pivject,     U.S.   -, -, 137 S.Ct. 2080, 2087 (2017).
                                                       II.

                                           Background of the case

           In May 2018, this Court granted declaratory and injunctive relief in favor of Plaintiff Jarrod

Stringer and former plaintiffs Benjamin Hernandez andJohn Woods. The Court found, based on largely

uncontested facts, that Defendants violated the National Voter Registration Act, 52 U.S.C. §j

20503(a)(1), 20504(a), (c), (d), and (e), and 20507(a)(1)(A), and the Equal Protection Clause, U.S. Const.

amend. XW, 1, by failing to permit simukaneous voter registration with online driver's license renewal

and change-of-address transactions. The Court permanently enjoined Defendants from continuing to

violate the NVRA and Equal Protection Clause and ordered them to establish procedures that treat each

online driver's license renewal or change-of-address application as a simultaneous application for voter

registration which must then be submitted to the Secretary of State. Stringerv. Pablos, 320 F.Supp. 3d 862

(W.D. Tex. 2018), rev'd and remanded, Stringer v.      W/hitley,   942 F.3d 715 (5th Cir. 2019) ("Stringer I").

Defendants appealed to the Fifth Circuit, which held that Plaintiffs did not have standing to seek

prospective injunctive relief because they had not shown a continuing or threatenedfuture injury to their




          31n fact, the Court may rely upon otherwise inadmissible evidence when considering a preliminary
injunction. Sierra Club, Lone Star Chapter v. FDIC, 992 F.2d 545,551(5th Cit. 1993); Tex. CommerceBankNat'lAss'n
v. State ofFlorida, 1997 WL 181532, at *4 (N.D. Tex. Apr. 9, 1997) (in a preliminary injunction proceeding, "the
court may rely on hearsay evidence and may even give inadmissible evidence some weight"), afi'd, 138 F.3d 179
(5th Cit. 1998).

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constitutional right to vote. Chief Judge Owen wrote:

       Plaintiffs contend that they have demonstrated a substantial risk that they will suffer a future
       injury as a result of the DPS System's noncompliance with the NYRA and Equal Protection
       Clause. As Plaintiffs concede, to do so, they must demonstrate "a sufficient probability that
       each Plaintiff will use the noncompliant driver's license services again." All three Plaintiffs
       declared that they "plan to continue transacting online with [DPS] in the future whenever
       [they are] required to renew or change the address on [their] driver's license and [are] eligible
       to do so." However, each Plaintiff will have the occasion to use the DPS System to update
       his voter registration only if (1) he moves within Texas, in which case he might wish use the
       DPS System to change his address on file with DPS and his county voter registrar, or (2) he
       becomes both unregistered to vote and eligible to renew his driver's license using the DPS
       System, in which case he might wish to use the DPS System to renew his driver's license and
       register to vote.
       Plaintiffs rely on two types of evidence that they contend demonstrate a substantial risk that
       they will move again. The first is evidence of their prior movesHemandez and Woods
       have each moved once in the past five years, and Stringer has moved several times.
       However, evidence that a plaintiff has taken an action in the past does not, by itself,
       demonstrate a substantial risk that the plaintiff will take the action in the future; there must
       be some evidence that the plaintiff intends to take the action again. Accordingly, evidence
       that Plaintiffs moved in the past does not establish a substantial risk that they will do so in
       the future. Notab/y, no Plaintiffhas expressed aiy intention to move in thefuture.

       The second type of evidence cited by Plaintiffs is data from the United States Census Bureau
       showing that Americans can expect to move 11.7 times in their lifetimes. This general data
       also does not establish a substantial risk that Plaintiffs themselves will move again; Plaintiff-
       specific evidence is needed before Plaintiffs' claims can be properly characterized as an
       attempt to remedy an imminent injury to Plaintiffs instead of a generalized grievance
       available to all Texans.
       Plaintiffs also have not demonstrated a substantial risk that they will attempt to use the DPS
       System to renew their driver's licenses and simultaneously update their voter registrations.
       Plaintiffs contend that Texas's requirement that driver's licenses must be renewed every six
       years and the existence of Texas laws providing multiple avenues for the cancellation of a
       voter's registration create a "sufficient probability" that, at some point in the future,
       Plaintiffs will be both unregistered to vote and eligible to renew their driver's licenses using
       the DPS System. However, Plaintiffs do not point to any Plaintiff-specific evidence
       suggesting that they will become unregistered and eligible to renew their driver's licenses
       using the DPS System.

       In light of the absence of any Plaintiff-specific evidence, the evidence in the record does not
       demonstrate a substantial risk that Plaintiffs will become unregistered and eligible to renew
       their driver's licenses online. Plaintiffs cite Texas laws that provide for the cancellation of
       voter registration in four relatively uncommon situations: (1) when a voter's registration card
       is returned as undeliverable, the voter does not return a confirmation notice, and the voter
       does not vote in two consecutive general elections; (2) when a registrar fmds a voter to be
       ineligible after an investigation; (3) when another voter from the same county successfully
       challenges a voter's registration; and (4) when a voter cancels his or her voter registration.


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           There is no evidence in the record that suggests that any Plaintiff is likely to fall within the
           ambit of these provisions. Furthermore, Texans are only required to renew their driver's
           licenses every eight years, and every other renewal must be accomplished in person. Chances
           are slim that Plaintiffs will become unregistered around the time that they need to renew
           their driver's licenses and are eligible to do so using the DPS System.

           In sum, Plaintiffs have not established a substantial risk that they will attempt to update their
           voter registrations using the DPS System and be injured by their inability to do so. As a
           result, Plaintiffs have not established an injury in fact sufficient to confer standing to pursue
           the declaratory and injunctive relief that they seek.

Stringer   v.   W/hitleji,   942 F.3d at 721-23 (emphasis added).

           Judge Ho, concurring, stated:

           I agree with my colleagues that we are not at liberty to decide the merits in this case, because
           none of these Plaintiffs have standing to seek injunctive relief here. They all secured their
           right to vote by the 2016 election cycle. And they claim no future injury that we can redress
           today.. . . But although we have no occasion to decide the merits of Plaintiffs' claim due to
           their lack of a future injury, that does not prevent us from acknowledging that Plaintiffs have
           indeed endured an injury in the past. They were unable to exercise their right to vote in past
           election cycles. And it is a right they will never be able to recover. As citizens, we can hope it
                                                                   -
           is a deprivation they will not experience again even if the law does not afford them a
           remedy from this court at this time.

Stringer v. W/hitlej, 942 F.3d at 726 (emphasis in original).

                                                            III.

                                          Facts giving rise to the current claims

           Although the Fifth Circuit found, based on the facts in the record at that time, that Mr.

Stringer had not proven he would likely sustain another injury in the future, it has happened again.

Before November 23, 2019, Mr. Stringer moved from a residence in Bexar County to a new

residence in Harris County. On November 23, 2019, Mr. Stringer had his wife visit the DPS website

to change the address on his driver's license. He would have also had his wife update his voter

registration online when updating his driver's license, but was not given the option. Thus, he

remains registered at his old address in Bexar County. If his registration is not updated before

February 3, 2020, he will not be able to vote in the March 2020 primary election in the county and

precinct where he resides. Mr. Stringer also states, in his uncontested sworn declaration, that he
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plans to move residences again in 2020. Specifically, he and his wife plan to move out of their

current rental apartment and into a new residence by August 25, 2020 at the latest. Docket no. 5-1,

Appx. 178-180.

        Co-plaintiff John Harms, who was not a plaintiff in Stringer I, was a resident of Bastrop

County prior to July 2019. At that time, he was registered to vote and did vote in Bastrop County. In

mid-July 2019, Mr. Harms moved from Bastrop County to Travis County, where he signed a one-

year lease on a house. On or about October 8, 2019, he visited the DPS online system and

completed the process to change the address on his driver's license to his new residence in Travis

County. If he had been provided the option to simultaneously update his voter registration, he

would have done so. He was not provided that option, and he remains unregistered at this time to

vote in Travis County. If Mr. Harms' voter registration is not updated before February 3, 2020, he

will not be able to vote in the March 2020 primary election. Mr. Harms' sworn declaration is also

uncontested. Docket no. 5-1, Appx. 182-183.

       Co-plaintiff Nayeli Gomez, who was not a plaintiff in Stringer I, moved from one residence

in Bexar County to a new residence in Bexar County in the Summer of 2019. On December 9, 2019,

she visited the DPS online system to change the address on her driver's license to her new address

but she was unable to simultaneously update her voter registration. She would have simultaneously

updated her voter registration if she had been given the option, but she was not given that option.

She remains registered at her old address and will not be able to vote in her home precinct in the

March 2020 primary election if her registration is not updated before February 3, 2020. Docket no.

5-1, Appx. 185-1 86.

       Current and former plaintiff Jarrod Stringer, along with current plaintiffs Nayeli Gomez,

John Harms, MOVE Texas Civil Fund, and League of Women Voters of Texas and Intervenor-

plaintiffs Texas Democratic Party, DCCC, and DSCC, now assert the same causes of action at issue
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in Stringer I because Defendants have not changed their practices and new violations have occurred,

resulting in a continuing injury and/or threatened future injury. Docket no.     i; Docket no. 137.
                                                    Iv.

                             The scope of relief currently being considered

        Plaintiffs' Emergency Application for Preliminary Injunction was filed three days after the

filing of Plaintiffs' original complaint. After filing their motion, Plaintiffs significantly narrowed the

temporary injunctive relief they are seeking. Within that scope of relief, the continuing injury and/or

threatened future injury suffered by the individual plaintiffs is the most urgent, given the February    3

deadline for Texans to register to vote and/or update their voter registration. The temporary

injunctive relief sought by these individuals should also be easily redressable before the February 3

deadline. Thus, due to strict time restraints, the Court is currently considering only the very narrow

temporary relief sought by the three individuals plaintiffs. The remaining relief sought in the

Emergency Application for Preliminary Injunction has been taken under advisement, but is held in

abeyance at this time.

                                                    V.

                              Standing to seek temporary injunctive relief
                           and substantial likelihood of success on the merits

        A.      What Plaintiffs must show to have standing

        In Stringer I, the Fifth Circuit set forth the applicable standard for determining whether the

individual plaintiffs have Article III standing:

        To have Article III standing, a plaintiff must show an injury in fact that is fairly traceable to
        the challenged action of the defendant and likely to be redressed by the plaintiff's requested
        relief. Courts have divided this rule into three components: injury in fact, causation, and
        redressability. The party seeking to invoke federal jurisdiction, in this case the Plaintiffs,
        bears the burden of establishing all three elements.



        4Docketed in 20-CV-46.

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        Requests for injunctive [] relief implicate the intersection of the redressability and injury-in-
        fact requirements. The redressability requirement limits the relief that a plaintiff may seek to
        that which is likely to remedy the plaintiffs alleged injuries. Because injunctive [ ] relief
        "cannot conceivably remedy any past wrong," plaintiffs seeking injunctive [ ] relief can
        satisfy the redressability requirement only by demonstrating a continuing injury or threatened
        future injury. That continuing or threatened future injury, like all injuries supporting Article
        III standing, must be an injury in fact. To be an injury in fact, a threatened future injury must
        be (1) potentially suffered by the plaintiff not someone else; (2) "concrete and
        particularized," not abstract; and (3) "actual or imminent, not 'conjectural' or 'hypothetical."
        The purpose of the requirement that the injury be "itnniinent" is "to ensure that the alleged
        injury is not too speculative for Article III purposes." For a threatened future injury to
        satisfy the imminence requirement, there must be at least a "substantial risk" that the injury
        will occur.

Stringer v. Whitley, 942 F.3d at 720-21 (internal citations omitted).


        B. The challenged action


        The challenged action in question is Defendants' violation of the National Voter

Registration Act (N\TRA), 52 U.S.C.     §   20501,   et. seq.   and the Equal Protection clause, U.S. const.

amend. XW,    § 1.   For purposes of seeking temporary injunctive relief, Plaintiffs Jarrod Stringer and

Nayeli Gomez seek relief under both the NVRA and the Fourteenth Amendment. Mr. Harms

asserts his right to temporary injunctive relief under an Equal Protection claim only.

        It is undisputed that on the dates in question, Stringer and Gomez were denied the right to

simultaneously update their voter registration when they updated the address on their drivers license

through DPS' online procedure. This is a violation of the NVRA, 52 U.S.C.                 §   20503(a)(1)

("notwithstanding any other Federal or State law, in addition to any other method of voter

registration provided for under State law, each State shall establish procedures to register to vote in

elections for Federal office   - (1) by application made simuitaneons/y with an application for a motor
vehicle driver's license"). It is undisputed that on the dates in question the applications completed by

Stringer and Gomez for updating their driver's license did not serve as applications for voter

registration. This is a violation of the NYRA, 52 U.S.C.           §   20504(a) (1),(2) ("Each State motor vehicle

driver's license application (including any renewal application) submitted to the appropriate State

                                                          8
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motor vehicle authority under State law shall serve as an application for voter registration."). It is

undisputed that the DPS form completed by Stringer and Gomez does not include voter registration

as   part thereof; and registering to vote elsewhere would require information that duplicates

information provided in the DPS driver's license form. This is a violation of the NVRA, 52 U.S.C.

20504(c) (1),(2), and (d) ("Each State shall include a voter registration application form for elections

for Federal office as part of an application for a State motor vehicle driver's license               The voter

registration applicationportion of an application for a State motor vehicle driver's license                    - ma      not

require anji information that duplicates information required in the driver'c license portion ofthe form.   .   .   Any

change of address form submitted in accordance with State law for purposes of a State motor

vehicle driver's license shall serve as notification of change of addressfor voter registration with respect to

elections for Federal office for the registrant involved unless the registrant states on the form that

the change of address is not for voter registration purposes.").

          Both Stringer and Gomez have provided written notice of the NVRA violations to the

Secretary of State, the chief election official for the State of Texas, and the violations have not been

corrected within the time set forth in the statute.5 Not only have Defendants expressly refused to



         5Section 20510 provides a private right of action for any person "who is aggrieved by a violation
of this chapter," 52 U.S.C. 20510(a)-(b), and the "rights and remedies. . are in addition to all other
                                                                                         .


rights and remedies provided by law," 52 U.S.C.              20510(d).

          The notice provision in § 20510(b) further states:

          (1) A  person who is aggrieved by a violation of this chapter may provide written notice of the
          violation to the chief election officials of the State involved.
          (2) If the violation is not corrected within 90 days after receipt of a notice under paragraph (1),
          or within 20 days after receipt of the notice if the violation occurred within 120 before the date
          of an election for Federal office, the aggrieved person may bring a civil action in an appropriate
          district court for declaratory or injunctive relief with respect to the violation.
          (3) If the violation occurred within 30 days before the date of an election for Federal office, the
          aggrieved person need not provide notice to the chief election official of the State under
          paragraph (1) before bringing a civil action under paragraph (2).
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correct the violations, but they have failed to offer any assistance in updating and confirming

Stringer and Gomez's voter registration. At the hearing, Defendants suggested that Plaintiffs can just

go somewhere else to update their registration by February 3. The mandates               of the NVRA dictate

exactly the opposite   of what Defendants now suggest Plaintiffs should do to avoid being

disenfranchised on March 3: engage in a second transaction with another agency, which requires a

separate application with duplicate information and the burden of mail, postage, and/or personal

delivery. Congress lifted these burdens to make voter registration easier, not more confusing and

difficult.6




         Defendants essentially claim that when it comes to online services they cannot comply with

the NYRA because it conflicts with state law. The Court previously addressed this asserted

justification in Stringer I, which the Fifth Circuit did not reach. Thus, the Court has re-visited the

issue and reaches the same conclusion.7 First, the provisions of the NVRA neither incorporate Texas

election law nor make it subject thereto.8 Second, Texas election law cannot be used as an excuse for



52 U.S.C.     20510(b)(2)-(3).

         6The Court also notes that Mr. Stringer is reportedly chronically ill. Docket no. 10 (docketed in
20-CV-46). Again, the NVRA was intended to remove barriers that make voter registration more
restrictive or inconvenient for all voters, but this is especially important for voters like Mr. Stringer. 52
U.S.0 20506(a)(5)(C) states that agencies designated to provide voter registration services shall not.
   "take any action the purpose or effect of which is to discourage the applicant from registering to
vote." DPS and SOS cannot simply tell Texans to go somewhere else to register to vote.

         7Because time is of the essence, the Court's written analysis to determine "likelihood of success"
at this juncture is necessarily less extensive than the merits analysis in 2018. However, the parties have
agreed that neither the law nor Defendants' practices have changed since the Court's merits analysis in
2018.

          8just briefly, in 52 U.S.C. 20504(a) (1) and (d), for example, the reference to state law means
the driver's license laws (i.e. the Texas Transportation Code). The NVRA was enacted under the Elections
clause, U.S. Const. Art. I § 4, ci. 1, which gives Congress the broad power to preempt, alter, and supplant state
law when it comes to federal voter registration practices. Arizona ii. InterTribal County ofAri<ona, Inc., 570 U.S. 1,
133 S. Ct. 2247, 2253-57 (2013). ("The Clause's substantive scope is broad" and "Elections Clause legislation,
so far as it extends and conflicts with the regulations of the State, necessarily supersedes them"). To the extent
state voter registration procedures are inconsistent with the NVRA, they are superseded. Id. at 2253-54 ("the state

                                                         'Eli
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failing to comply with the NVRA. To the extent it is inconsistent with the NYRA, Texas election

law must yield to the NVRA.9 And third, there in nothing in either the NYRA or state law that

precludes the use of electronic signatures in online driver's license-voter registration transactions. It

is undisputed that the State     of Texas already has preexisting electronically stored signatures for every

person that uses the online service, and could use them for both driver's license and voter

registration. Defendants already use electronically stored signatures for every in-person and mail

driver's license-voter registration transaction, which makes their refusal to accept them in online

transactions      unexplainable.10



          To be clear, the NYRA does not require DPS to offer online driver's license transactions,

but DPS has made the choice to utilize and promote such a process. Having made this choice, and

because the NVRA covers all driver's license applications, renewals, and change of address



law, so far as the conflict extends, ceases to be operative"). On the other hand, the NYRA does not supplant
state driver's license laws. Thus, interpreting the provisions in 52 U.S.C. § 20504(a)(1) and (d) to mean that
driver's license applications submitted in accordance with the Texas Transportation Code shall also serve as
applications for voter registration purposes is consistent with the purpose of the Act and the entire statutory
scheme.

          9See   n. 8.

          101t is worth noting that with twenty-first century technology and legislation such as the Global and
National Commerce Act (E-Sign Act) and Uniform Electronic Transactions Act (UETA), electronic signatures
are legally recognized and widely used. 15 U.S.C. § 7001 et. seq.; Unif. Electronic Transactions Act, U.L.A. (1999).
Under the Uniform Electronic Transactions Act, which has been adopted by Texas and 46 other states, the
medium in which a signature is created, presented or retained does not affect its legal significance. See UETA §
7; Tex. Bus. & Corn. Code Ann. § 322.007(a),(c),(d) (Vernon 2015) (TUETA). As these provisions explain: a
record or signature may not be denied legal effect or enforceability solely because it is in electronic form; if a law
requires a record to be in writing, an electronic record satisfies the law; if a law requires a signature, an electronic
signature satisfies the law. Texas law permits SOS and DPS to accept electronic records and electronic signatures.
See Tex. Bus. & Corn. Code § 322.017 (each state agency has the option to accept electronic records and
electronic signatures); Tex. Bus. & Corn. Code § 322.007 ("If a law requires a signature, an electronic signature
satisfies the law."); see also Tex. Bus. & Corn. Code § 322.008(a) ("If parties have agreed to conduct a transaction
by electronic means and a law requires a person to provide, send, or deliver information in writing to another
person, the requirement is satisfied if the information is provided, sent, or delivered, as the case may be, in an
electronic record . . ."); Tex. Bus. & Com. Code § 322.012 ("if a law requires that a record be retained, the
requirement is satisfied by retaining an electronic record"); Tex. Govt Code § 2054.060 ("digital signature may
be used to authenticate a written electronic communication sent to a state agency"); I Tex. Admin. Code § 203.24
(describing technology that may be acceptable for use by state agencies).

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transactions, the online change of address transactions must be treated no differently than the in-

person and mail transactions.       See   52 U.S.C.   §   20504(a)(1) ("Each State motor vehicle driver's

application. . ."). Defendants have offered no viable defense to the statutory violations in question

or their continued refusal to comply with the NYRA. Based on the facts currently before the court,

there is a substantial likelihood that Plaintiffs Stringer and Gomez will succeed on the merits of their

NVRA claims.

         Plaintiffs Stringer, Gomez, and Harms also assert that Defendants' refusal to provide voter

registration applications simultaneously with online driver's license transactions constitutes a

violation of their Equal Protection rights under the Fourteenth Amendment)' The right to vote is a

fundamental right protected under the Equal Protection Clause of the Fourteenth Amendment.

Harperu. Va. State Bd. ofElections, 383 U.S. 663, 670 (1966). "The right to vote is protected in more

than the initial allocation of the franchise. Equal protection applies as well to the manner of its

exercise." Bush    v.   Gore, 531 U.S. 98, 104 (2000) (per curiam).           The Equal Protection Clause applies

when state procedures restrict voters' rights. Bush           v.    Gore, 531 U.S.   at 103 (Supreme Court found that

Florida's failure to institute reliable recount procedures violated the Equal Protection Clause); Obama

forAm.   v.   Husted, 697 F.3d 423, 436-37 (6th Cir. 2012) (Circuit court found that Ohio law that

prevented casting of early ballots by non-military voters violated the Equal Protection Clause). The

Anderson-Burdick standard will apply herein. Burdicle              v.   Tukushi, 504 U.S. 428 (1992).12 Under this



       11"The rights and remedies established by [the NVRA] are in addition to all other rights and
remedies provided by law." 52 U.S.C. § 20510(d) (1).

        '2See VotinsforAm., Inc. v. Steen, 732 F.3d 382 (5th Cir. 2013) (Fifth Circuit applied Anderson-
Burdick analysis in challenge to state law regulating volunteer deputy registrars); Tex. Democratic Party v.
Williams, 285 Fed. Appx. 194, 195 (5th Cir. 2008) (per curiam) (noting that district court properly
applied Anderson-Burdick balancing test to the constitutional claims challenging use of eSlate voting
machines), cert. denied, 555 U.S. 1100 (2009); Faas v. Cascos, 225 F. Supp. 3d 604, 610 (S.D. Tex. 2016)
(State election laws "could hardly serve their legitimate purposes if they were routinely subject to strict
scrutiny... [thus], [t]he United States Supreme Court recognized the need for a more flexible analytical

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standard, "[a] court considering a challenge to a state election law must weigh the character and

magnitude of the asserted injury to the rights protected by the [Constitution] that the plaintiff seeks

to vindicate against the precise interests put forward by the State as justification for the burden

imposed by its rule, taking into consideration the extent to which those interests make it necessary

to burden the plaintiff's rights." Burdick, 504 U.S. at 434 (internal quotes omitted). "However slight

the burden [to the voters] may appear,.      . .   it must be justified by relevant and legitimate state

interests sufficiently weighty to justify the limitation." Crawford v. Marion     Cry. Elec. Bd., 553 U.S. 181,

191 (2008).


         "{V]oting is   of the most fundamental significance under our constitutional structure,"

Burdick, 504 U.S. at 433, and unfair registration procedures can have a direct and damaging effect on

voter participation.    See 52 U.S.C.   20501(a)(3) (Congressional findings). While the State can impose

reasonable restrictions, those restrictions must be justified by specific interests that outweigh the

burden on voters. It is undisputed that Defendants permit simultaneous voter applications for

persons who renew or change their driver's license in person or by mail, but refuse simultaneous

voter applications for persons who renew or change their driver's license online. Persons who renew

or change their driver's license in person or by mail need only check a single box indicating that he/she

would like to register or update his/her voter information. After checking the box on the driver's license

form, rio further steps are necessary. DPS sends the updated information to SOS in nightly batches, so the

voter registration is updated timely and efficiently. However, persons who renew or change their driver's

license online are denied the same process. They first go through the steps to renew or change the address

on their license online, then must end their DPS driver's license transaction before going to SOS to obtain,

print, and complete a separate voter registration application which requires duplicate information. Once the




framework in two landmark cases: Anderson and Burdick").


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additional application is complete, it must be mailed or hand delivered. DPS, a voter registration agency,

maintains a procedure that accepts simultaneous voter registration applications for some, while rejecting

them for others. This type of restriction on voter registration imposes a burden on the fundamental right to

vote that warrants the demonstration of a corresponding interest sufficiently weighty to justify the limitation.

        Again, Defendants' only justification for the voter registration burden imposed these voters is the

"signature" requirement under Texas election law. However, neither federal nor state law limits the signature

requirement to physical hand written signatures on paper (or "wet" signatures). Electronic signatures and

electronic records are legally recognized and widely used, and Defendants offer no reason for refusing to

accept them for online transactions. DPS already uses electronic records and previously imaged electronic

signatures for every Texan that uses the online system for driver's license renewal or change of address. And

the Secretary of State already uses electronic records and previously imaged electronic signatures for voter

registration purposes. There is no reason why Defendants cannot use them in an online driver's license-voter

registration transaction when it already uses them in mail and in-person transactions.

        Neither the law nor the facts support Defendants' alleged justification for limiting simultaneous

voter applications to in-person and mail transactions and refusing simultaneous voter applications for

persons that renew or change their driver's license online. Because the alleged justification is not legitimate,

there is no state interest that outweighs the burden imposed on voters. Defendants fail to demonstrate a

corresponding interest sufficiently weighty to justify the limitation on voters' rights.

        Based on the facts currently before the Court, there is a substantial likelihood that Plaintiffs

Stringer, Gomez, and Harms will succeed on the merits of their Equal Protection claims.

                                                       VI.

                       Injury in fact, causation, redressability. and irreparable harm

        It is undisputed that Plaintiffs Stringer, Gomez, and Harms were not simultaneously

registered to vote (i.e., their voter registration was not updated) at the time of their online



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 transactions with DPS, a designated voter registration agency. It is undisputed that they are still

 unregistered to vote and will be disenfranchised on March 3 if they are not registered to vote by the

 deadline   - February 3. This continuing injury (lack of voter registration as a result of Defendants'
unlawful procedure) and threatened future injury (disenfranchisement) more than satisfies the

standing necessary for injunctive relief.     See Stringer v. W/hitleji, 942   F.3d at 720 ("plaintiffs seeking

injunctive    [ ]   relief can satisfy the redressability requirement only by demonstrating a continuing

injury or threatened future injury."). The Plaintiffs' continuing and threatened future injury will be

(1)   potentially suffered by these plaintiffs, not someone else; (2) "concrete and particularized," not

abstract; and (3) "actual or imminent, not 'conjectural' ot 'hypothetical.' "Id. at 720-21. With the

deadline for voter registration in just a few days, and the primary election thirty days thereafter, there

is a "substantial risk"    that the individual plaintiffs will be disenfranchised if they are not registered to

vote; thus, threatened future injury is indisputably "imminent." Moreover, Plaintiffs' continuing and

future threatened injury is "fairly traceable" to the challenged action of Defendants. But for

Defendants failure to comply with the NVRA, and the unjustified burden on Plaintiffs'

constitutional rights, Plaintiffs would already be registered to vote in the county and precinct where

they reside.

          The future injury      disenfranchisement    - is irreparable. The right to vote is a fundamental
right, and the deprivation of such right is something Plaintiffs "wifi never be able to recover." Stringer

v.   Whitlej, 942 F.3d at 726. (Ho, J., concurring). But the injury that will occur between now and

March 3 is still redressable with immediate, temporary injunctive relief. These individual plaintiffs

should not be forced to wait and suffer a constitutional deprivation when it can be avoided by

granting temporary injunctive relief. Texas v. U.S., 809 F.3d at 173 n. 137 (citing United States v.

Emerson, 270 F.3d 203, 262 (5th Cir. 2001)).




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                                                      VII.

                                     Balance of harm and public interest

         The harm to the individual plaintiffs - being disenfranchised          clearly outweighs the minimal

burden, if any, that will be placed on Defendants by simply being ordered to perform their duties

and take the necessary steps to ensure that these three individuals are registered to vote. The public

clearly has a paramount interest in removing voter registration barriers and having procedures that

encourage rather than discourage voter registration. Defendants have offered no factual or legal

argument that would justify denying the simultaneous voter registration to which these individual

plaintiffs are entitled.

                                                    VIII.

                                       Temporary relief being ordered

        The temporary relief being ordered herein is narrowly tailored, and the Court orders no

more than what the law clearly and unequivocally requires of Defendants. There is an expectation,

under the notice provisions of the NVRA, that if a designated voter registration agency such as DPS

violates the NVRA, the chief election official of the State        upon notification - will correct the

violation.13   That is all the Court is ordering herein. Compliance with this order will ensure that the

individual plaintiffs herein will not be forced to suffer a continuing or threatened future injury.

        For the reasons stated herein, which are based on a preliminary review, the Court

ORDERS that pursuant to 52 U.S.C. § 20504(d), the last change of address forms submitted

by the individual plaintiffs for purposes of updating the address on their driver's license

"shall serve as notification of change of address for voter registration with respect to



        13To   be clear, Defendants could have avoided this type of emergency relief by simply agreeing to assist
plaintiffs in getting their voter registration updated a duty and obligation they already have under the law.

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elections for Federal offlce for the registrant involved." Defendant DPS must immediately

submit the information contained in the previously completed forms, along with the

individual plaintiffs stored electronic signatures, as necessary, to the Texas Secretary of

State.14   The Secretary of State will then immediately submit the same information to the

correct county voter registrars, along with a copy of this injunction order and written

instructions to immediately register these individual plaintiffs to vote. The Secretary of State

must confirm that all three individual plaintiffs are registered tovote before the deadline to

register to vote so they may participate in the upcoming primary elections. When that

confirmation is received, Defendants must file a written advisory with the Court no later

than 2:00 p.m. on February 3 confirming that all three individual plaintiffs are timely

registered to vote in the county and precinct in which they reside. If Defendants must

designate one or more employees, agents, or representatives to carry out this order, they are

expected to do so.

        The Emergency Application for Preliminary Injunction is GRANTED in part, and the rest

of the preliminary injunctive relief being sought is held in abeyance.

        SIGNED and ENTERED this             /   day of January, 2020 at      o'clock
                                                                                       [. m..



                                                ORLANDO L. GARCIA
                                                CHIEF U.S. DISTRICT JUDGE




        141nother words, DPS and SOS will treat it the same way they would treat an in-person or mail-
in change of address form and follow generally the same submission process set forth in 52 U.S.C.
20504(e)(2), but on an expedited basis so that completion of voter registration occurs before the
deadline.

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